
PER CURIAM.
Willie Jones petitions for a writ of habeas corpus, alleging, inter alia, that his appellate counsel was ineffective for failing to appeal the denial of his motion for judgment of acquittal. We grant the writ. Pursuant to our decision in Clay v. State , 226 So.3d 346 (Fla. 5th DCA 2017), the motion for judgment of acquittal was meritorious.
*1249Because a second appeal would be redundant, we remand for the trial court to enter a judgment of acquittal. See Delgado v. State , 174 So.3d 1071, 1074 (Fla. 5th DCA 2015) ("Because a new appeal would be redundant, we remand with directions for the trial court to vacate Delgado's judgment and sentence ... on count two.")
PETITION GRANTED; REMANDED with instructions.
EVANDER, C.J., GROSSHANS and SASSO, JJ., concur.
